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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


SATCO PRODUCTS, INC.,                             §
           Plaintiff                              §
                                                  §      6-21-CV-00146-ADA
-v-                                               §
                                                  §
SIGNIFY NORTH AMERICA CORP.,                      §
SIGNIFY NETHERLANDS B.V.                          §
            Defendants                            §
                                                  §


                         ORDER TO PAY TECHNICAL ADVISOR

       The Court previously appointed Dr. Joshua J. Yi to serve as a technical advisor on this

case. The Court has reviewed Dr. Yi’s invoice for services through today and finds the requested

amount to be reasonable and necessary. As such, the Court ORDERS payment to be promptly

made as follows:

       Plaintiff:             $10,030.28
       Defendant:             $10,030.28

Dr. Yi will separately provide deposit instructions.



SIGNED this 9th day of December, 2021.




                                      ALAN D ALBRIGHT
                                      UNITED STATES DISTRICT JUDGE
